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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

                                                    )
   BIOGEN INTERNATIONAL GMBH                        )
   and BIOGEN MA INC.,                              )
                                                    )
                  Plaintiffs,                       )    Civil Action No. 1:17-cv-116-IMK
                                                    )
   v.                                               )
                                                    )
   MYLAN PHARMACEUTICALS INC.,                      )
                                                    )
                  Defendant.                        )
                                                    )

        PLAINTIFFS’ RESPONSE TO DEFENDANT’S NOTICE OF SUPPLEMENTAL
                                 AUTHORITY

          On October 28, 2019, Mylan filed a Notice of Supplemental Authority, ECF No. 292, in

   this Court arguing that the non-binding Memorandum Order issued in the District of Delaware

   case Baxalta Inc. v. Bayer Healthcare LLC, No. 17-cv-1316-RGA-SRF (D. Del.), ECF No. 292-

   1, “informs the issues raised in Mylan’s objections.” ECF No. 292 at 1. Biogen files this Response

   to counter Mylan’s argument and explain that the Baxalta Order should have no impact on this

   Court’s determination because it is not applicable to the facts or issues in Mylan’s Objection to the

   Order Denying Defendant’s Motion for Relief from Stipulated Protective Order as to Certain

   Documents. ECF No. 280.

          First, the alleged supplemental authority is inapposite because the Baxalta Magistrate

   found the “plaintiffs have satisfied their burden of showing good cause” to modify the protective

   order. ECF No. 292 at 2. Here, Magistrate Judge Mazzone found the opposite, holding Mylan

   failed to meet its burden of proving that the documents should be de-designated because the

   documents, even with Mylan’s proposed redactions, contained Confidential and Highly

   Confidential information as defined by the Stipulated Protective Order.             Order Denying



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   Defendant’s Motion [243] for Relief from Stipulated Protective Order as to Certain Documents,

   ECF No. 277 at 7-9.

          Second, Baxalta is inapplicable because the Baxalta plaintiffs did not request that the court

   de-designate documents. Instead, the plaintiffs requested a modification of the protective order to

   produce a specific document that was “highly relevant” to the IPR. ECF No. 292 at 2. Unlike

   Baxalta, Mylan requests that this Court de-designate documents and allow Mylan to publicly

   disclose these documents under the current Stipulated Protective Order (“SPO”). Baxalta does not

   address de-designation or Mylan’s argument that the Magistrate Judge clearly erred in his factual

   analysis of the challenged documents, finding that these documents were properly designated.

   ECF No. 280 at 6-10. Because the non-binding Baxalta Order presents an entirely different set of

   facts and issues to those in Mylan’s Objection, this Court should give no weight to Baxalta and

   uphold the Magistrate Judge’s Order finding that the challenged documents are properly

   designated under the SPO.



    DATED: 11/04/2019                            Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

          I hereby certify that on November 4, 2019, I caused a true and correct copy of the foregoing

   PLAINTIFFS’ RESPONSE TO DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY

   to be electronically filed with the Clerk of the Court using the CM/ECF system, which will send

   notification of such filing to the following counsel of record:

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